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                      UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF NORTH DAKOTA


In re:

Vortex Drain Tiling LLC                                                Case No.: 16-30672
                                                                       Chapter 7

Debtor.


    NOTICE OF APPLICATION FOR APPROVAL OF EMPLOYMENT OF REAL
                       ESTATE PROFESSIONAL




The Trustee filed and served an Application for Approval of Employment of Real Estate
Professional dated November 13, 2017. Your rights may be affected in the action. You
should read the papers carefully and discuss the matters with your attorney if you have
one. If you want the court to consider your views you should mail a written response to
the action, within 14 days of the date of mailing of this document, and file the response
with the Clerk of Bankruptcy Court and a copy served upon the U.S. Trustee and
Bankruptcy Trustee.

Clerk, U.S. Bankruptcy Court        United States Trustee      Trustee
Quentin N Burdick U.S.              314 S Main Ave.            (See address below)
Courthouse                          Suite 303
655 First Ave N – Ste 210           Sioux Falls SD 57104-
Fargo ND 58107-4932                 6462

DATE OF MAILING: November 13, 2017                        /s/ Erik Ahlgren
                                                          Erik Ahlgren, Chapter Trustee
                                                          Ahlgren Law Office, PLLC
                                                          220 W Washington Ave. Ste 105
                                                           Fergus Falls MN 56537
                                                           218-998-2775
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                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NORTH DAKOTA


In re:

VORTEX DRAIN TILING LLC,                                                          Case No.: 16-30672
                                                                                  Chapter 7

                 Debtor.

             APPLICATION FOR APPROVAL OF EMPLOYMENT OF REALTOR


         1. Applicant is the trustee in this case.

         2. Applicant applies for approval of the employment of Brett Meyers and Crary Real
         Estate as real estate agent to sell the following interest in real property described as follows:

         Real estate located at:
         Lots Three (3) and Four(4), Block Two (2), Senske’s Second Addition, to the City of Grand
         Forks, North Dakota

         3. The terms and conditions of compensation and reimbursement of expenses are as follows:
         Said Broker to be paid 6% of sale price.

         4. Said professional has disclosed to the undersigned that he has the following connections
         with the debtors, creditors, and other parties-in-interest, their respective attorneys and
         accountants, the United States Trustee or any person employed in the office of the United
         States Trustee: None

        WHEREFORE, Applicant requests that the Bankruptcy Court approve such employment by
the Trustee.

Dated: November 13, 2017                                          /s/ Erik A. Ahlgren
                                                                  Erik A. Ahlgren, Trustee
                                                                  220 W. Washington Ave. Suite 105
                                                                  Fergus Falls MN 56537
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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NORTH DAKOTA


In re:

VORTEX DRAIN TILING LLC,                                                 Case No.: 16-30672
                                                                         Chapter
                       Debtor.


                         UNSWORN CERTIFICATE OF SERVICE



       I, Lisa Ahlgren, declare under penalty of perjury that on November 13, 2017 the
following entities were served electronically via CM/ECF

John R. Brakke jbrakke@vogellaw.com; jnona@vogellaw.com; parmstrong@vogellaw.com;
sthompson@vogellaw.com; r51072@notify.bestcase.com
Jeffrey A. Peterson jeffrey.peterson@gpmlaw.com
Jason P. Sayler jasonsayler@traynorlaw.com, lonna@traynorlaw.com,
andrea@traynorlaw.com
Katrina A Turman Lang katrina@turmanlaw.com, janelle@turmanlaw.com
United States Trustee USTPRegion12.SX.ECF@usdoj.gov

And by U.S. Mail to:

Vortex Drain Tiling LLC
741 Ashley Lane NE
Thompson ND 58278

Executed on: November 13, 2017                     Signed: /s/ Lisa. Ahlgren

                                                    Lisa Ahlgren
                                                    220 W. Washington Ave. Ste 105
                                                    Fergus Falls MN 56537
